            Case 1:04-cr-05185-AWI Document 494 Filed 01/18/07 Page 1 of 1


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6
                          IN THE UNITED STATES DISTRICT COURT
7                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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9    UNITED STATES OF AMERICA,     )           CASE NO. 1:04-CR-5185 OWW
                                   )
                       Plaintiff, )            ORDER TO CONTINUE SENTENCING HEARING
10                                 )
           v.                      )
11                                 )           DATE: January 16, 2007
     DANIEL PEREZ,                 )           TIME: 9:00 a.m.
                                   )           COURT: 3
12                     Defendant. )
     ______________________________)
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           Good cause appearing, defendant Daniel Perez’s sentencing hearing,
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     currently set for January 16, 2007, is hereby continued to February 12, 2007
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     at 9:00 a.m. in courtroom 3 and that time is excluded pursuant to the Speedy
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     Trial Act.
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     IT IS SO ORDERED.
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     Dated: January 17, 2007                 /s/ Oliver W. Wanger
21   emm0d6                             UNITED STATES DISTRICT JUDGE

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